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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Protect Our Parks, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:18−cv−03424
                                                      Honorable John Robert Blakey
Chicago Park District, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 22, 2019:


         MINUTE entry before the Honorable John Robert Blakey: Defendants have
moved to dismiss Plaintiff's complaint for lack of subject matter jurisdiction pursuant to
Rule 12(b)(1), and in the alternative, for judgment on the pleadings pursuant to Rule
12(c). [48]. In light of: (1) the extensive list of exhibits of which Defendants have asked
this Court to take judicial notice, see [48] at 35; (2) Defendants statement that they "would
have no objection" to this Court converting their motion for judgment on the pleadings to
a Rule 56 motion for summary judgment, id. at 8, and (3) Plaintiffs' lack of objection to
such a proposal in their response memorandum, see [65−1], this Court exercises its
discretion to convert Defendants' motion for judgment on the pleadings to a Rule 56
motion for summary judgment. Fed R. Civ. P. 12(d); see, e.g., Intercon Solutions, Inc. v.
Basel Action Network, 969 F. Supp. 2d 1026, 1047 (N.D. Ill. 2013) ("Rule 12(d) grants
the trial court discretion in determining whether to convert a Rule 12 motion to a motion
for summary judgment and whether to accept materials outside of the pleadings.").
Pursuant to Rule 12(d), the parties are given until 2/5/19 to advise this Court whether they
object to a Rule 56 conversion, as well as to present all additional materials, if any, that
may be pertinent to the motion for summary judgment. This Court converts only
Defendants' Rule 12(c) motion for judgment on the pleadings [48]; the motion to dismiss
for lack of subject matter jurisdiction [48] stands, as does the Defendants' 2/1/19 reply
date as to that motion. All other dates and deadlines stand. Mailed notice(gel, )




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